
953 N.E.2d 933 (2011)
352 Ill. Dec. 252
PEOPLE State of Illinois, respondent,
v.
Bruce LAMPLEY, petitioner.
No. 111572.
Supreme Court of Illinois.
September 28, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is ordered to vacate its decision in People v. Lampley, 405 Ill.App.3d 1, 345 Ill.Dec. 682, 939 N.E.2d 525 (2010) and reconsider in light of People v. Mullins, 242 Ill.2d 1, 350 Ill.Dec. 819, 949 N.E.2d 611 (2011), to determine if a different result is warranted.
